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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 MATCH GROUP, LLC,

                        Plaintiff,                       Case No.: 1:22-cv-4629-LGS

    v.

 BEAZLEY UNDERWRITING LIMITED,

                        Defendant.



                DEFENDANT’S CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1, defendant Beazley Underwriting Limited,

by and through counsel of record, states as follows:

          (1)    Plaintiff Beazley Underwriting Limited is a United Kingdom corporation and is a

                 citizen and resident of the United Kingdom. Beazley Underwriting Limited was

                 incorporated and formed under the laws of England and Wales, with its principal

                 place of business at 22 Bishopsgate, London, United Kingdom EC2N 4BQ.

          (2)    Beazley Underwriting Limited is a wholly owned subsidiary of Beazley Furlonge

                 Holdings Ltd. Beazley Furlonge Holdings Ltd. is 100% owned by Beazley Group

                 Ltd., which is 100% owned by Beazley plc. Beazley plc is listed on the UK Stock

                 Exchange.
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    Respectfully submitted, this 23rd day of June, 2022.


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                                                      Attorneys for Defendant




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                                 CERTIFICATE OF SERVICE

         I hereby certify that, on June 23, 2022, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court’s CM/ECF System.

                                                    /s/ Jonathan S. Zelig
                                                   Jonathan S. Zelig




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